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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

DEBORAH LAUFER,
Plaintiffs,
Vv. : Case No.

201 MIRACLE FWB, LLC., d/b/a
FAIRWAY INN,

Defendant.

 

COMPLAINT
(Injunctive Relief Demanded)

Plaintiff, DEBORAH LAUFER, Individually, on her behalf and on behalf of
all other individuals similarly situated, (sometimes referred to as “Plaintiff’), hereby
sues the Defendant, 201 MIRACLE FWB, LLC., d/b/a FAIRWAY INN(sometimes
referred to as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation
expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C.
§ 12181 et seg. (“ADA”).

1. Plaintiff is a resident of Alachua County, Florida, is sui juris, and
qualifies as an individual with disabilities as defined by the ADA.
Plaintiff is unable to engage in the major life activity of walking more

than a few steps without assistive devices. Instead, Plaintiff is bound to
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ambulate in a wheelchair or with a cane or other support and has limited
use of her hands. She is unable to tightly grasp, pinch and twist of the
wrist to operate. Plaintiff is also vision impaired. When ambulating
beyond the comfort of her own home, Plaintiff must primarily rely on a
wheelchair. Plaintiffrequires accessible handicap parking spaces located
closet to the entrances of a facility. The handicap and access aisles must
be of sufficient width so that she can embark and disembark from a ramp
into her vehicle. Routes connecting the handicap spaces and all features,
goods and services of a facility must be level, properly sloped,
sufficiently wide and without cracks, holes or other hazards that can
pose a danger of tipping, catching wheels or falling. These areas must
be free of obstructions or unsecured carpeting that make passage either
more difficult or impossible. Amenities must be sufficiently lowered so
that Plaintiff can reach them. She has difficulty operating door knobs,
sink faucets, or other operating mechanisms that tight grasping, twisting
of the wrist or pinching. She is hesitant to use sinks that have
unwrapped pipes, as such pose a danger of scraping or burning her legs.
Sinks must be at the proper height so that she can put her legs

underneath to wash her hands. She requires grab bars both behind and
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beside a commode so that she can safely transfer and she has difficulty
reaching the flush control if it is on the wrong side. She has difficulty
getting through doorways if they lack the proper clearance.
Plaintiff is an advocate of the rights of similarly situated disabled
persons and is a "tester" for the purpose of asserting her civil rights and
monitoring, ensuring, and determining whether places of public
accommodation and their websites are in compliance with the ADA.
According to the county property records, Defendant owns a place of
public accommodation as defined by the ADA and the regulations
implementing the ADA, 28 CFR 36.201(a) and 36.104. The place of
public accommodation that the Defendant owns is a place of lodging
known as Fairway Inn, and is located at or about 203 S.W. Miracle Strip
Parkway, Ft. Walton Beach, Okaloosa County, Florida (hereinafter
"Property").

Venue is properly located in the Northern District of Florida because
the injury occurred in this district.
Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been

given original jurisdiction over actions which arise from the Defendant’s
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violations of Title III of the Americans with Disabilities Act, 42 U.S.C.
§ 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

As the owner of the subject place of lodging, Defendant is required to
comply with the ADA. As such, Defendant is required to ensure that
it's place of lodging is in compliance with the standards applicable to
places of public accommodation, as set forth in the regulations
promulgated by the Department of Justice. Said regulations are set forth
in the Code of Federal Regulations, the Americans With Disabilities Act
Architectural Guidelines ("ADAAGs'"), and the 2010 ADA Standards,
incorporated by reference into the ADA. These regulations impose
requirements pertaining to places of public accommodation, including
places of lodging, to ensure that they are accessible to disabled
individuals.

More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following
requirement:

Reservations made by places of lodging. A public accommodation that
owns, leases (or leases to), or operates a place of lodging shall, with
respect to reservations made by any means, including by telephone,
in-person, or through a third party -

(i) Modify its policies, practices, or procedures to ensure that
individuals with disabilities can make reservations for accessible
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guest rooms during the same hours and in the same manner as
individuals who do not need accessible rooms;

(11) Identify and describe accessible features in the hotels and
guest rooms offered through its reservations service in enough
detail to reasonably permit individuals with disabilities to
assess independently whether a given hotel or guest room
meets his or her accessibility needs;

(111) Ensure that accessible guest rooms are held for use by
individuals with disabilities until all other guest rooms of that
type have been rented and the accessible room requested is the
only remaining room of that type; |

(iv) Reserve, upon request, accessible guest rooms or specific
types of guest rooms and ensure that the guest rooms requested
are blocked and removed from all reservations systems; and
(v) Guarantee that the specific accessible guest room reserved
through its reservations service is held for the reserving
customer, regardless of whether a specific room is held in
response to reservations made by others.

These regulations became effective March 15, 2012.

Defendant, either itself or by and through a third party, implemented,

operates, controls and or maintains websites for the Property which

contain online reservation systems. These websites are located at
https://www.booking.com/hotel/us/fairway-inn. html
https://www.orbitz.com/F ort- Walton-Beach-Destin-Hotels-Fairway-
Inn.h4962289.Hotel-

Information?chkin=10%2F7%2F2019&chkout=10%2F8%2F2019
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https://www.expedia.com/Fort-Walton-Beach-Destin-Hotels-Fairway-

Inn.h4962289.Hotel-Information
https://www.hotels.com/ho404137/2q-check-out=2019-10-
O8&FPOQ=2&q-check-in=2019-10-07
https://www.priceline.com/relax/at/40448/from/20191007/to/20191008/
rooms/1/?preferredhotelids=40448
https://www.agoda.com/fairway-inn/hotel/fort-walton-beach-fl-
This term also includes all other websites owned and operated by
Defendant or by third parties to book or reserve guest
accommodations at the hotel. The purpose of these websites is so
that members of the public may reserve guest accommodations and
review information pertaining to the goods, services, features,
facilities, benefits, advantages, and accommodations of the Property.
As such, these websites are subject to the requirements of 28 C.F.R.
Section 36.302(e).
Prior to the commencement of this lawsuit, specifically on September
17, 2019, Plaintiff visited the websites for the purpose of reviewing

and assessing the accessible features at the Property and ascertain
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whether they meet the requirements of 28 C.F.R. Section 36.302(e)
and her accessibility needs. However, Plaintiff was unable to do so
because Defendant failed to comply with the requirements set forth in
28 C.F.R. Section 36.302(e). As a result, Plaintiff was deprived the
same goods, services, features, facilities, benefits, advantages, and
accommodations of the Property available to the general public.
Specifically,

a. The website located at https://www.booking.com/hotel/us/fairway-
inn,html had no option to book an accessible room. Hotel amenities,
room types and amenities are all listed in detail. No information was
given about accessibility in the hotel.

b. The website located at https://www.orbitz.com/F ort-Walton-
Beach-Destin-Hotels-Fairway-Inn.h4962289.Hotel-
information?chkin=10%2F7%2F2019&chkout=10%2F8%2F2019

had no option to book an accessible room. Hotel amenities, room
types and amenities are all listed in detail. No information was
given about accessibility in the hotel other than the statements
“Accessible bathroom”, ‘““Wheelchair accessible parking” and

“Wheelchair accessible path of travel”.
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c. The website located at https://www.expedia.com/Fort- Walton-
Beach-Destin-Hotels-Fairway-Inn.h4962289.Hotel-Information
had no option to book an accessible room. Hotel amenities, room
types and amenities are all listed in detail. No information was given
about accessibility in the hotel other than the statements “Accessible
bathroom”, “Wheelchair accessible parking” and “Wheelchair
accessible path of travel”.
d. The website located at https://www.hotels.com/ho404137/2q-
check- out=2019-10-08&FPQ=2&q-check-in=2019-10-07 had no
option to book an accessible room. Hotel amenities, room types and
amenities are all listed in detail. No information was given about
accessibility in the hotel other than the statements “Accessible
bathroom”, “Disabled parking” and “Wheelchair accessible path of
travel”.
e. The website located at ttps://www.priceline.com/relax/at/40448/
from /20191007/to/20191008/rooms/1/?preferredhotelids=40448 had
no option to book an accessible room. Hotel amenities, room types

and amenities are all listed in detail. No information was given about

accessibility in the hotel.
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f. The website located at https://www.agoda.com/fairway-
inn/hotel/fort-walton-beach-fl-us.html?cid=-218 had no option to
book an accessible room. Hotel amenities, room types and amenities
are all listed in detail. No information was given about accessibility
in the hotel.
g. Overall, the websites identified above do not provide information
as to whether or where the property offers compliant/accessible roll-
in showers, tubs, built in seating, commodes, grab bars, sinks,
wrapped pipes, sink and door hardware, properly located amenities,
sufficient maneuvering spaces, compliant doors, furniture, controls
and operating mechanisms. The websites do not contain any
information as to whether all goods, facilities and services at the
property are connected by a compliant accessible route, nor do the
websites contain any information as to the accessibility of routes
connecting all the features of the hotel, the transaction counter,
parking, and common area restrooms. The websites do not give any
information as to whether accessible rooms are on the ground floor or

if an elevator is provided within an accessible route. Nor do the
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websites give any information regarding the pool/pools having an
accessible lift.

In the near future, Plaintiff intends to revisit Defendant's websites
and/or online reservations systems in order to test them for
compliance with 28 C.F.R. Section 36.302(e) and/or to utilize the
websites to reserve a guest room and otherwise avail herself of the
goods, services, features, facilities, benefits, advantages, and
accommodations of the Property.

Plaintiff is continuously aware that the subject websites remain non-
compliant and that it would be a futile gesture to revisit the websites
as long as those violations exist unless she is willing to suffer
additional discrimination.

The violations present at Defendant's websites infringe Plaintiff's
right to travel free of discrimination and deprive her of the
information required to make meaningful choices for travel. Plaintiff
has suffered, and continues to suffer, frustration and humiliation as

the result of the discriminatory conditions present at Defendant's

website. By continuing to operate the websites with discriminatory

conditions, Defendant contributes to Plaintiff's sense of isolation and

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segregation and deprives Plaintiff the full and equal enjoyment of the
goods, services, facilities, privileges and/or accommodations
available to the general public. By encountering the discriminatory
conditions at Defendant's website, and knowing that it would be a
futile gesture to return to the websitesunless she is willing to endure
additional discrimination, Plaintiff is deprived of the same
advantages, privileges, goods, services and benefits readily available
to the general public. By maintaining a websiteswith violations,
Defendant deprives Plaintiff the equality of opportunity offered to the
general public. Defendant's online reservations system serves as a
gateway to its hotel. Because this online reservations system
discriminates against Plaintiff, it is thereby more difficult to book a
room at the hotel or make an informed decision as to whether the
facilities at the hotel are accessible.

Plaintiff has suffered and will continue to suffer direct and indirect
injury as a result of the Defendant’s discrimination until the
Defendant is compelled to modify its websitesto comply with the
requirements of the ADA and to continually monitor and ensure that

the subject websitesremains in compliance.

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Plaintiff has a realistic, credible, existing and continuing threat of
discrimination from the Defendant’s non-compliance with the ADA
with respect to these websites. Plaintiff has reasonable grounds to
believe that she will continue to be subjected to discrimination in
violation of the ADA by the Defendant.

The Defendant has discriminated against the Plaintiff by denying her
access to, and full and equal enjoyment of, the goods, services,
facilities, privileges, advantages and/or accommodations of the
subject website.

The Plaintiff and all others similarly situated will continue to suffer
such discrimination, injury and damage without the immediate relief
provided by the ADA as requested herein.

Defendant has discriminated against the Plaintiff by denying her
access to full and equal enjoyment of the goods, services, facilities,
privileges, advantages and/or accommodations of its place of public
accommodation or commercial facility in violation of 42 U.S.C. §
12181 et seq. and 28 CFR 36.302(e). Furthermore, the Defendant
continues to discriminate against the Plaintiff, and all those similarly

situated by failing to make reasonable modifications in policies,

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practices or procedures, when such modifications are necessary to
afford all offered goods, services, facilities, privileges, advantages or
accommodations to individuals with disabilities; and by failing to
take such efforts that may be necessary to ensure that no individual
with a disability is excluded, denied services, segregated or otherwise
treated differently than other individuals because of the absence of
auxiliary aids and services.

Plaintiff is without adequate remedy at law and is suffering
irreparable harm. Plaintiff has retained the undersigned counsel and
is entitled to recover attorney’s fees, costs and litigation expenses
from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR
36.505.

Pursuant to 42 U.S.C. § 12188, this Court is provided with authority
to grant Plaintiff Injunctive Relief, including an order to require the
Defendant to alter the subject websites to make them readily
accessible and useable to the Plaintiff and all other persons with
disabilities as defined by the ADAand 28 C.F.R. Section 36.302(e); or
by closing the websitesuntil such time as the Defendant cures its

violations of the ADA.

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WHEREFORE, Plaintiff respectfully requests:

a. The Court issue a Declaratory Judgment that determines that the
Defendant at the commencement of the subject lawsuit is in violation of
Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et
seq. and 28 C.F.R. Section 36.302(e).

b. Injunctive relief against the Defendant including an order to revise its
websitesto comply with 28 C.F.R. Section 36.302(e) and to implement
a policy to monitor and maintain the websitesto ensure that it remains in

compliance with said requirement.

c. Anaward of attorney’s fees, costs and litigation expenses pursuant to 42
U.S.C. § 12205.
d. Such other relief as the Court deems just and proper, and/or is allowable

under Title III of the Americans with Disabilities Act.
Respectfully Submitted,

/s/Philip Michael Cullen, III

Fla. Bar No: 167853

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